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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


TAMMY KITZMILLER; BRYAN AND                      :
CHRISTY REHM; DEBORAH FENIMORE                   :
AND JOEL LIEB; STEVEN STOUGH;                    :
BETH EVELAND; CYNTHIA SNEATH;                    :
JULIE SMITH; AND ARALENE                         :
("BARRIE") D. AND FREDERICK B.                   :
CALLAHAN,                                        :
                                                 :      CIVIL ACTION
                                Plaintiffs       :
                                                 :
                     vs.                         :      No. 4:04-CV-2688
                                                 :
DOVER AREA SCHOOL DISTRICT;                      :      (JUDGE JONES)
DOVER AREA SCHOOL DISTRICT                       :
BOARD OF DIRECTORS,                              :
                                                 :      (Filed Electronically)
                              Defendants         :


                                 STIPULATION
      The parties, by their undersigned attorneys, stipulate and agree that:

            (1)    plaintiffs shall file their claim for damages, and their

application for attorneys fees and nontaxable expenses pursuant to 42 U.S.C.
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§1988 and this Court’s Order of December 20, 2005, on or before February 15,

2006;

             (2)    defendants shall file their opposition to that application, if any,

on or before March 10, 2006; and

             (3)    plaintiffs may file their bill of costs pursuant to Local Rule

54.3, but shall provide defendants a fair estimate of taxable costs at the same time

they file their application for fees and nontaxable expenses.



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